
17 So.3d 390 (2009)
STATE ex rel. Kawan STACK
v.
STATE of Louisiana.
No. 2008-KH-2668.
Supreme Court of Louisiana.
September 18, 2009.
*391 Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State. 93-1380 (La.1/12/96), 665 So.2d 1172. Cf. La. C.Cr.P. art. 930.4. Furthermore, petitioner's most-recent application for post-conviction relief was denied with an order that conforms to the requirements of La. Const. art. V Section 8(B). State ex rel. Stack v. Cain, 08-0702 (La.App. 5th Cir.9/29/08); cf. State v. Cordero, 08-1717 (La.10/3/08), 993 So.2d 203.
JOHNSON, J., would grant,
